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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                             CASE NO. 3:07cr114LAC

ALEKSANDER V. BERMAN, JUSTIN
KING, & VYACHESLAVE FINKEL

                                 REFERRAL AND ORDER

Referred to Judge Lacey Collier on September 20, 2007
Motion/Pleadings: MOTION TO UNSEAL INDICTMENT
Filed by GOVERNMENT                       o 9/20/2007    Doc.# 51
                                          n
RESPONSES:
                                          o              Doc.#
                                          n
                                          o              Doc.#
                                          n
        Stipulated            Joint Pldg.
        Unopposed             Consented
                                          WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                            ORDER
Upon   consideration      of   the   foregoing,     it    is   ORDERED    this   20 th   day   of
September, 2007, that:
(a) The relief requested is GRANTED.
(b)




                                                               s /L.A. Collier
                                                           LACEY A. COLLIER
Entered On Docket:                    By:
                                                 Senior United States District Judge
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
